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                8                     UNITED STATES DISTRICT COURT

                9       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

               10
               11 LIVN Worldwide Ltd., a Mauritius          CASE NO. 2:21-cv-09589-AB-KS
                  limited company,
               12                                           Honorable André Birotte Jr.
                              Plaintiff,
               13                                           [PROPOSED] JUDGMENT
                        v.
               14
                  Vubiquity Inc., a Delaware corporation;
               15 and DOES 1 through 10, inclusive,
               16              Defendant.
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  Mitchell
Silberberg &   28
 Knupp LLP



                                                     JUDGMENT
               Case 2:21-cv-09589-AB-KS    Document 131 Filed 04/07/25       Page 2 of 3 Page ID
                                                  #:2085


                1                                    JUDGMENT
                2        On May 10, 2024, the Motion, brought by Defendant Vubiquity, Inc.
                3 (“Defendant”) for summary judgment pursuant to Rule 56 of the Federal Rules of
                4 Civil Procedure to enter judgment in favor of Defendant and dismiss with
                5 prejudice Plaintiff LIVN Worldwide Ltd.’s (“Plaintiff”) Second Amended
                6 Complaint (ECF 33) in its entirety, came on regularly for hearing, in Courtroom
                7 7B of this Court, the Honorable André Birotte Jr. presiding.
                8        After full consideration of the evidence, and the moving, opposition, and
                9 reply papers, and the argument of counsel, the Court finds that the undisputed facts
               10 confirm that Plaintiff’s claims should be dismissed and Defendant’s Motion should
               11 be granted.
               12        After full consideration of the evidence, and the moving, opposition, reply,
               13 and briefing on Defendant’s Motion for reconsideration, the Court finds that
               14 Defendant’s Motion for Attorneys’ Fees (ECF 115) should be denied.
               15
               16        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED:
               17        That the Motion is hereby GRANTED in its entirety.
               18        The Court hereby orders as follows:
               19           1. Plaintiff shall recover nothing from Defendant by way of Plaintiff’s
               20               Second Amended Complaint;
               21           2. Pursuant to Fed. R. Civ. P. 68 and the Offer of Judgment served on
               22               Plaintiff on January 12, 2023, Defendant shall be awarded its costs
               23               running from January 12, 2023, in an amount to be taxed by the Clerk
               24               of the Court; and
               25           3. Apart from the foregoing, this action shall be, and is hereby,
               26               dismissed with prejudice.
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 Knupp LLP
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                                                      JUDGMENT
               Case 2:21-cv-09589-AB-KS   Document 131 Filed 04/07/25   Page 3 of 3 Page ID
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                1        SO ORDERED.
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                3 Dated: _________________               ______________________________
                                                         Hon. André Birotte Jr.
                4                                        Judge of the United States District Court
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                                                   JUDGMENT
